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UNITED STATES DISTRICT COURT J S-5
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES — GENERAL

Case No. 2:22-cv-00106-MCS-GJS Date January 11, 2023
Title Joseph F. Iniguez v. R. Martinez et al.

 

 

 

Present: The Honorable Mark C. Scarsi, United States District Judge

 

 

Stephen Montes Kerr Not Reported
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Present None Present

Proceedings: (IN CHAMBERS) ORDER REOPENING CASE (JS-5)

Based on the parties’ stipulation, on March 29, 2022, the Court stayed and
closed this case for 120 days or until the completion of a criminal investigation by
the U.S. Department of Justice, whichever occurred first. (1st Order Re: Stipulation,
ECF No. 16.) The stay was continued twice over, as the investigation remained
pending. (2d Order Re: Stipulation, ECF No. 18; 3d Order Re: Stipulation, ECF No.
20.) On January 10, 2023, Plaintiffs counsel notified the Court that “the Department
of Justice investigation . . . has concluded, with the governing statutes of limitations
having expired.” (Notice Re: Status of Investig., ECF No. 21.) Pursuant to the
completion of the federal criminal investigation, the Court lifts the stay and directs
the Clerk to reopen the case.

Additionally, the Court has reviewed the parties’ Rule 26(f) joint report and
will issue a separate order setting the discovery schedule and trial date.

IT IS SO ORDERED.

 

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